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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
_____________________________________________
                                             )
CARRON DRIVE APARTMENTS LP, et al             )
                                              )
                   Plaintiffs,                  )
            v.                                )
                                              ) Civil Action 1:22-cv-00641-CJN
U.S. HOUSE OF REPRESENTATIVES                 )
SELECT COMMITTEE TO INVESTIGATE               )
THE JANUARY 6 ATTACK ON THE
                TH                            )
UNITED STATES CAPITOL, et al.                 )
                                              )
                   Defendants.                )
_____________________________________________)
                           NOTICE OF VOLUNTARY DISMISSAL
                            PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)

       Pursuant to F.R.C.P. 41(a)(1)(A)(ii), and due to the withdrawal by the Chairman of the

House Select Committee to Investigate the January 6th Attack on the U.S. Capitol of the

subpoena issued to T-Mobile which sought information and records concerning a family cell

phone plan for which Plaintiff Carron Drive Apartments, LP is the subscriber, the parties hereby

agree and stipulate to a voluntary dismissal of this action without prejudice. The parties further

agree and stipulate that they each will bear their own costs and legal fees incurred in this case.

December 13, 2022                        Respectfully submitted,

                                         JPROWLEY LAW PLLC

                                   By:      /s/ John P. Rowley III____________
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                        U.S. HOUSE OF REPRESENTATIVES


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                        Counsel for Defendants




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 13th day of December 2022 a copy of the foregoing

Motion was served via the Court’s CM/ECF system on all properly registered parties and counsel.


                                              /s/ John P. Rowley III______________
                                           John P. Rowley III (D.C. Bar No. 392629)




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